
698 S.E.2d 654 (2010)
In re Appeal from the Order Sanctioning Benjamin SMALL, Attorney at Law
appealed by Benjamin Small.
No. 49P10.
Supreme Court of North Carolina.
June 16, 2010.
Michael Casterline, Asheville, for Benjamin S. Small.
Grady L. Balentine, Special Deputy Attorney General, for State of NC.
Prior report: ___ N.C.App. ___, 689 S.E.2d 482.

ORDER
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by the Respondent (Benjamin Small) on the 27th of January 2010 in this matter pursuant to G.S. 7A-30, and the motion to dismiss the appeal for lack of substantial constitutional question filed by the State of NC, the following order was entered and is hereby certified to the North Carolina Court of Appeals: the motion to dismiss the appeal is
"Allowed by order of the Court in conference, this the 16th of June 2010."
Upon consideration of the petition filed on the 27th of January 2010 by Respondent (Benjamin Small) in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 16th of June 2010."
